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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF OREGON
                                 EUGENE DIVISION


JENNIFER JOY FREYD,                                                 Case No. 6:17-CV-00448-MC

               Plaintiff,                                            NOTICE OF APPEARANCE

               vs.

UNIVERSITY OF OREGON, MICHAEL
H. SCHILL and HAL SADOFSKY,

               Defendants.

To the Court and All Parties and their Attorneys of Record:

       PLEASE TAKE NOTICE that Whitney Stark of Albies & Stark LLC hereby appears as

counsel for the Plaintiff, Jennifer Joy Freyd. It is requested that an entry be made on the clerk’s

docket and that all further notices, documents, pleadings, correspondence, orders, and other

materials relevant to this action be directed to and served upon the undersigned attorney of




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record.

          Respectfully submitted this 6th day of September, 2018.


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